Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 1 of 15




                       Exhibit 3
                                to
             Memorandum of United States in Opposition
               To Dey Defendants' Motion in Limine
             To Exclude Opinions of Mark Duggan, Ph.D
          Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 2 of 15
Palmetto (Stone, Robin Kreush) - Vol I                              February 28, 2008


                                                                                 Page 1
                 UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF MASSACHUSETTS

                          MDL NO. 1456

               CIVIL ACTION NO. 01-CV-12257-PBS

                      Judge Patti B. Saris

              Magistrate Judge Marianne B. Bowler

     IN RE:   PHARMACEUTICAL INDUSTRY

     AVERAGE WHOLESALE PRICE LITIGATION

     ____________________________________

     THIS DOCUMENT RELATES TO:

     U.S. Ex rel. Ven-A-Care of the

     Florida Keys, Inc., v. Abbott

     Laboratories, Inc., et al.,

     No. 06-CV-11337-PBS

                         VOLUME I OF II

          VIDEOTAPE 30(B)(6) DEPOSITION OF PALMETTO

                      (ROBIN KREUSH STONE)

                  Thursday, February 28, 2008

                       9:00 AM to 5:00 PM

                    Columbia, South Carolina

     Reported by:    Jane G. LaPorte

                     Merit and Professional Certifications




                     Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com

                                                                     c40b5095-2c24-428f-92fd-e27ff331f6a0
          Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 3 of 15
Palmetto (Stone, Robin Kreush) - Vol I                              February 28, 2008


                                                                               Page 21
  1          Q.       Ms. Stone, is what I have marked as
  2     Abbott Exhibit 522, the document that you prepared
  3     to summarize your review into the array files for
  4     purposes of this litigation?
  5          A.       Yes.
  6          Q.       It's a document that you prepared?
  7          A.       Yes.
  8          Q.       And it was something that you did for
  9     purposes of this litigation; is that right?
 10          A.       Yes.
 11          Q.       It's not a document that you already had
 12     --
 13          A.       No.
 14          Q.       -- developed?
 15          A.       No.
 16          Q.       Correct?
 17          A.       (no response.)
 18                   MR. TORBORG:         I'll ask you some questions
 19     about that later.           I just wanted to get that marked.
 20          Q.       Anything that you did to prepare for
 21     today's deposition, apart from reviewing the array
 22     files and preparing Abbott Exhibit 522?


                   Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com

                                                                     c40b5095-2c24-428f-92fd-e27ff331f6a0
          Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 4 of 15
Palmetto (Stone, Robin Kreush) - Vol II                             February 29, 2008


                                                                             Page 223
                 UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF MASSACHUSETTS

                          MDL NO. 1456

               CIVIL ACTION NO. 01-CV-12257-PBS

                      Judge Patti B. Saris

              Magistrate Judge Marianne B. Bowler

     IN RE:   PHARMACEUTICAL INDUSTRY

     AVERAGE WHOLESALE PRICE LITIGATION

     ____________________________________

     THIS DOCUMENT RELATES TO:

     U.S. Ex rel. Ven-A-Care of the

     Florida Keys, Inc., v. Abbott

     Laboratories, Inc., et al.,

     No. 06-CV-11337-PBS

                         VOLUME II OF II

          VIDEOTAPE 30(B)(6) DEPOSITION OF PALMETTO

                      (ROBIN KREUSH STONE)

                    Friday, February 29, 2008

                       9:00 AM to 4:00 PM

                    Columbia, South Carolina

     Reported by:    Jane G. LaPorte

                     Merit and Professional Certifications




                     Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com

                                                                   73e221d0-375b-439e-8a5a-ebece59aa9db
          Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 5 of 15
Palmetto (Stone, Robin Kreush) - Vol II                             February 29, 2008


                                                                             Page 473
  1     and Roxane was a generic, would that have anything
  2     to do with explaining why the Burroughs Wellcome
  3     product no longer appeared in the arrays after a
  4     certain point in time?
  5                   MR. HECK:        Objection; form.
  6          A.       Without seeing the source material, it
  7     looks to me like it was due to the change in the
  8     code -- or, wait a minute, I'm sorry.                    I'm confusing
  9     myself with J 7500 and K 0199.
 10                   Okay.      Repeat the question again, please.
 11                   MR. HENDERSON:          Just a minute, I will
 12     withdraw the question.
 13          Q.       I would like to turn your attention to
 14     Exhibit 522, which is the document that you
 15     prepared, Abbott Exhibit 522, the 67-page document.
 16                   Now, approximately how much time did you
 17     spend preparing this document, Ms. Stone?
 18          A.       A lot.
 19          Q.       Roughly how many hours?
 20          A.       I'm trying to think.             Gosh, probably at
 21     least three to four days, when you combine the time
 22     together.


                   Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com

                                                                   73e221d0-375b-439e-8a5a-ebece59aa9db
          Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 6 of 15
Palmetto (Stone, Robin Kreush) - Vol II                             February 29, 2008


                                                                             Page 474
  1
             Q.        Did you review hard copied materials?
  2
             A.        Yes.
  3
             Q.        And did you review electronic array
  4
        materials?
  5
             A.        Yes.
  6
             Q.        Did you review comparison pricing sheets
  7
        that compared Palmetto pricing information against
  8
        pricing information from other DMERCS?
  9
             A.        Yes.
 10
             Q.        Did you review a number of Palmetto
 11
        advisory publications?
 12
             A.        Yes.
 13
             Q.        And does this document represent your
 14
        best determination about which arrays represent
 15
        final arrays that were used for pricing
 16
        determinations?
 17
             A.        Yes.
 18
                       MR. HECK:       Objection; form.
 19
             Q.        Now, the column that is entitled:                       Final
 20
        fee/array, has that heading to it; is that correct?
 21
             A.        I'm sorry.         Repeat that.
 22
             Q.        You have a column entitled:                 Final


                   Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com

                                                                   73e221d0-375b-439e-8a5a-ebece59aa9db
          Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 7 of 15
Palmetto (Stone, Robin Kreush) - Vol II                             February 29, 2008


                                                                             Page 475
  1
        fee/array.
  2
             A.        Yes.
  3
             Q.        What does the Y indicate?
  4
             A.        The Y indicates that I was able to
  5
        confirm that that was the final array and/or fee.
  6
             Q.        For that particular time period?
  7
             A.        For that particular time period.
  8
             Q.        And the comments to the right are your
  9
        comments; is that correct?
 10
             A.        That is correct.
 11
             Q.        And what do they just --
 12
                       MR. HENDERSON:          I'll withdraw that
 13
        question.
 14
             Q.        You were asked some questions by
 15
        Mr. Torborg -- I think asked you some questions
 16
        about the information shown on page five of Exhibit
 17
        522 and this relates to J 3370.
 18
                       And I think in response to a question by
 19
        Mr. Torborg, you indicated that beginning the first
 20
        quarter of 1997, there were no arrays prepared
 21
        for -- no DMERC array prepared for J 3370; is that
 22
        right?


                   Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com

                                                                   73e221d0-375b-439e-8a5a-ebece59aa9db
Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 8 of 15
Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 9 of 15




                      Pages Omitted
Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 10 of 15
Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 11 of 15
Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 12 of 15
Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 13 of 15
Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 14 of 15
Case 1:01-cv-12257-PBS Document 7073-3 Filed 04/21/10 Page 15 of 15
